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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                             4:11CR000243-1 SWW


EDWARD EARL GRANT


                                FURLOUGH ORDER

      Pursuant to the Court’s February 26, 2013 Order Setting Conditions of

Release, Defendant shall be released from the custody of the United States Marshal

and the Pulaski County Regional Detention Facility (“PCRDF”) subject to the

following special conditions.

      On Wednesday, February 27, 2013 at 8:00 a.m., the U.S. Marshal and

PCRDF shall release Defendant to the third-party custody of Ms. Aslean Royal,

Defendant’s fiancée. Ms. Royal shall immediately transport Defendant to the VA

Forts Roots facility in North Little Rock, where he is scheduled to undergo a

physical assessment to determine whether he qualifies for inpatient drug treatment.

Following completion of the assessment, Ms. Royal shall immediately return
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Defendant to the PCRDF, where he will remain in custody pending the VA’s

determination regarding inpatient drug treatment.1

       If the VA determines that Defendant qualifies for inpatient drug treatment,

he shall be released to the third-party custody of Ms. Royal or defense counsel for

immediate transportation to the VA’s designated inpatient drug facility. Midway

through the duration of Defendant’s inpatient drug treatment, defense counsel shall

file a motion that proposes a plan for Defendant’s custody between drug treatment

and trial.

       In the event that Defendant does not qualify for inpatient drug treatment, he

shall remain in the custody of the U.S. Marshal at the PCRDF.

       IT IS SO ORDERED this 26th day of February, 2013.



                                     ___________________________________
                                     UNITED STATES MAGISTRATE JUDGE




       1
        In the event that the VA determines that Defendant may begin inpatient drug treatment
on February 27, 2013, Ms. Royal shall immediately notify Defendant’s Pretrial Services Officer.
The Court will then enter an Order directing that Defendant is not to return to the custody of the
PCRDF, and Ms. Royal shall transport Defendant to the inpatient treatment facility.
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